
666 S.E.2d 762 (2008)
STATE of North Carolina
v.
Justin Raynal COTTON.
No. 344P08.
Supreme Court of North Carolina.
August 26, 2008.
Bruce T. Cunningham, Jr., Southern Pines, for Cotton.
Robert Montgomery, Special Deputy Attorney General, Garland N. Yates, District Attorney, for State.

ORDER
Upon consideration of the petition filed by Defendant on the 22nd day of July 2008 in this matter for a writ of certiorari to review the order of the Superior Court, Moore County, the following order was entered and is hereby certified to the Superior Court of that County:
"Denied by order of the Court in conference, this the 26th day of August 2008."
